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pice Good LiFe FOR My MOM AND WAWT TO HAVE a FATTER |
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Case 2:11-cr-00070-RAJ Document 463 Filed 04/10/17 Page 4 of 11

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Case 2:11-cr-00070-RAJ Document 463 Filed 04/10/17 Page 6 of 11

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PaFiewr iv He KospiTAc whS & OFFiciAl PkieST
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Avyvh ah Tooay SHE i$ my FIRNCE OvD Sue whiTS FoR
‘me i Ryssi®, Ske teylly tove me any Supporr mes.

 
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Sort

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lenge UMbeRSTAVD T WAS a NeSPZRATL Ail Veom
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